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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION

   ULTRAVISION TECHNOLOGIES, LLC,          Case No. 2:19-cv-00291-JRG-RSP
                                           (LEAD CASE)
                       Plaintiff,
                                           JURY TRIAL DEMANDED
              v.

   HOLOPHANE EUROPE LIMITED,
   ACUITY BRANDS LIGHTING DE
   MEXICO S DE RL DE CV, HOLOPHANE,
   S.A. DE C.V., AND ARIZONA (TIANJIN)
   ELECTRONICS PRODUCTS TRADE CO.,
   LTD.,

                       Defendants.

   ULTRAVISION TECHNOLOGIES, LLC,          Case No. 2:19-cv-00398-JRG-RSP
                                           (CONSOLIDATED CASE)
                       Plaintiff,
                                           JURY TRIAL DEMANDED
              v.

   YAHAM OPTOELECTRONICS CO., LTD.,

                       Defendant.

          PLAINTIFF ULTRAVISION TECHNOLOGIES, LLC’S SUR-REPLY
      IN FURTHER OPPOSITION TO YAHAM OPTOELECTRONICS CO., LTD.’S
               MOTION FOR SUMMARY JUDGMENT REGARDING
           NONINFRNGEMENT OF U.S. PATENT NO. 8,870,410 (DKT. 127)
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        Plaintiff Ultravision Technologies, LLC (“Ultravision” or “Plaintiff”), by and through its

 undersigned counsel, respectfully submits this Sur-Reply in Further Opposition to Yaham

 Optoelectronics Co., Ltd.’s (“Defendant” or “Yaham”) Sealed Motion for Summary Judgment

 Regarding Noninfringement of U.S. Patent No. 8,870,410 (Dkt. 127) (the “Motion”). The Motion

 should be denied in its entirety.

 I.     THE ACCUSED PRODUCTS EQUIVALENTLY PRACTICE THE
        “ACRYLIC MATERIAL” LIMITATIONS

        Yaham does not dispute that the Accused Products’ comprise optics made of

 that Dr. Coleman opines is equivalent to “acrylic material” under the function-way-result test. Yaham

 does not seek to exclude Dr. Coleman’s proposed testimony as unreliable. Nor does Yaham challenge

 that the trier of fact may rely on expert testimony as evidence. Yaham does not contest that whether

 an equivalent satisfies a limitation is an issue of fact. Because Dr. Coleman’s testimony gives rise to

 a genuine dispute of material fact exists as to whether the Accused Products satisfy the “acrylic

 material” limitations through the doctrine of equivalents, Yaham is precluded from summary

 judgment.

        Refusing to acknowledge Dr. Coleman’s testimony, Yaham instead attempts to distinguish

 the weight of case law standing for the proposition that the trier of fact may rely on expert testimony

 as evidence. But Yaham’s attempt to distinguish the facts of these cases are irrelevant because Yaham

 does not, and cannot, dispute that expert testimony is evidence. Nor does Yaham cite any support for

 its assumption that the jury could not rely on Dr. Coleman’s testimony in the context of the doctrine

 of equivalents. In any case, Yaham fails to distinguish Vasudevan, Metaswitch, and Flexuspine.

 Vasudevan Software, Inc. v. Microstrategy, Inc., 782 F.3d 671, 683 (Fed. Cir. 2015); Flexuspine, Inc.

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 (E.D. Tex. Mar. 8, 2016). In Vasudevan, the Court held that where expert testimony supports the

 nonmoving party’s case, as Dr. Coleman’s does here, summary judgment is inappropriate. In

 Metaswitch, the Court held that experts’ competing applications of a claim construction is a factual

 issue – it is irrelevant whether the construction was agreed, as it is here, or disputed. In Flexuspine,

 the Court held that whether a feature of an accused product equivalently satisfies a limitation is an

 issue of fact, and that expert testimony may provide evidence for a doctrine of equivalents theory.

        Yaham cannot meet its burden for summary judgment because a genuine dispute of material

 fact remains as to whether the Accused Products                       lenses equivalently practice the

 “acrylic material” limitations.

        Yaham also fails to show that Ultravision is precluded from presenting a doctrine of

 equivalents theory as a matter of law, as discussed below.

        A.      Prosecution History Estoppel Does Not Apply

        Ultravision is not estopped from asserting the doctrine of equivalents because the “acrylic

 material” limitations are only tangential to an amendment overcoming the rejection over Heller and

 Guest. See Festo Corp. v. Shoketsu Kinzoku Kogyo Kabushiki Co., 535 U.S. 722, 725 (2002) (holding

 estoppel does not apply where “the rationale underlying the amendment bears but a tangential relation

 to the equivalent”). The addition of claims including “acrylic material” limitations was only

 peripheral to the amendment, because it was independent of the addition of “each LED” limitations

 which overcame the rejection over Heller and Guest. See Ajinomoto Co. v. Int’l Trade Comm’n, 932

 F.3d 1342, 1354 (Fed. Cir. 2019) (holding estoppel does not apply if “the way in which the

 alleged equivalent departs from what the claim limitation literally requires is tangential to the

 discernible objective reason for the narrowing amendment.”); see also id. (noting that tangential

 relation exception applied where “the purpose of the narrowing amendment was to distinguish the

 invention from the prior art based on the location of the vacuum source relative to the resin, not to


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 limit the number of vacuum sources”) (citations omitted). Here, the objectively evident rationale in

 the Patentees amendment was to distinguish the prior art based on even illumination from “each

 LED.” While the Patentee added claims reciting “acrylic material,” this was only peripheral to the

 contemporaneous narrowing amendment.

        Yaham does address that the claims including “acrylic material” limitations were added for

 the first time, not amended, in response to a rejection over Guest and Heller. Yaham does not contest

 that neither Guest nor Heller disclosed an optical substrate comprising                    or acrylic

 material. Nor does Yaham contest that the rejection over Guest and Heller did not concern the

 material of the optical substrate.



                                                                         Yaham also does not address

 that non-asserted claim 10 overcame the rejection over Heller and Guest based on the requirement

 for even illumination from “each of the LEDs” without the additional limitations of amended claim

 1 (e.g. regarding a first and second optical element) or now-asserted claim 15 (e.g. regarding acrylic

 material).




                    Under Yaham’s argument, every limitation listed in the amendment is subject to

 prosecution history estoppel, purely because Applicant stated that they were not taught by Guest or

 Heller. But this is not the standard for prosecution history estoppel. Festo, 535 U.S. at 722.




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 Irrespective of whether the acrylic limitations were listed, Yaham does not address whether or not

 “the rationale underlying the amendment bears but a tangential relation to the equivalent.” Id. at 725.

 Here, the rejection over Guest and Heller had nothing to do with the material of the optical substrate

 and claim 15 was independently allowable over Guest and Heller based on its recitation of even

 illumination from “each LED.”




        B.      Ultravision Properly Disclosed its Doctrine of Equivalents Theory

        Yaham does not contest that Ultravision’s infringement contentions expressly disclosed that

 it would rely on the doctrine of equivalents with respect to the “acrylic material” limitations of the

 asserted claims. Nor does Yaham contest that it failed to seek any discovery regarding Ultravision’s

 theory under the doctrine of equivalents. Instead Yaham mischaracterizes Ultravision’s disclosure as

 a “catch-all” without articulating any rationale as to how it could plausibly lack notice of

 Ultravision’s theory.



                                     Yaham relies solely on the Alacritech decision, which concerns

 not the doctrine of equivalents, but the “equivalency” of a single charted product to others for

 purposes of representativeness. Alacritech Inc. v. CenturyLink, Inc., 2:16-CV-00693-JRG-RSP, 2017

 WL 3007464, at *4 (E.D. Tex. July 14, 2017) (“The Court, however, is not convinced Alacritech’s

 contentions sufficiently explain the basis for the equivalency and why the 82599 and Infiniband

 controllers are representative of the other accused instrumentalities.”) Ultravision’s infringement

 contentions satisfied P.R. 3-1(d) and put Yaham on notice of its doctrine of equivalents theory.


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        C.      Dr. Coleman Properly Applies the Construction of “Acrylic Material,”
                and Yaham Waived its Claim Construction Arguments

        First, Yaham has waived its argument that claim differentiation somehow precludes

 Ultravision’s doctrine of equivalents theory. Yaham does not contest that it agreed to a slightly

 modified version of Ultravision’s proposed construction for “acrylic materials” after receiving notice

 of Ultravision’s doctrine of equivalents theory in its infringement contentions. Because Yaham could

 have raised its argument that differentiation between a “transparent substrate” and “acrylic material

 substrate” precludes an equivalent read                 at claim construction, its agreement waived

 those arguments.

        On reply, Yaham does not address the substance of Ultravision’s argument that it waived its

 claim differentiation position.



                                                                              Yaham’s attempt to use

 claim differentiation to read equivalents out of the meaning of the term “acrylic material” is a claim

 construction argument, irrespective of whether it formally proposed a new construction. The Music

 Choice case did not rely on the formal proposal of a new construction in finding a waiver of new

 claim construction arguments, as Yaham now suggests. See Music Choice v. Stingray Dig. Grp. Inc.,

 216CV00586JRGRSP, 2019 WL 8110069, at *3 (E.D. Tex. Nov. 19, 2019). (“This Court has stated

 that a failure to timely raise claim construction arguments should ordinarily result in waiver of the

 arguments.”) (citations and quotations omitted) Nor does Yaham address the Ericsson holding that

 arguments it “could have made [] during the claim construction phase of the case but did not” are

 waived. Ericsson Inc. v. TCL Commc’n Tech. Holdings, Ltd., 2:15-CV-00011-RSP, 2017 WL

 5137401, at *15 (E.D. Tex. Nov. 4, 2017). Accordingly, the Court should find that Yaham has waived

 its new claim construction arguments.



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          Second, Yaham is incorrect that claim differentiation prevents the equivalent application of

 “acrylic material” to                    Yaham’s argument is founded on the false premise that

 Ultravision’s theory under the doctrine of equivalents renders the scope of the term “acrylic material

 substrate” in claim 15 the same as “transparent substrate” in claim 1. Yaham fails to address that Dr.

 Coleman’s conclusions are founded in specific similarities in the properties and applications of

 acrylic and                  optics. Instead, Yaham unjustifiably assumes, without support, that if

                 is equivalent to acrylic material then all transparent materials are equivalent. There is

 no basis for this speculation in Ultravision’s arguments or Dr. Coleman’s opinions. Thus, even if the

 Court reaches Yaham’s claim construction arguments, Yaham’s construction excluding

                 equivalents of “acrylic material” is without merit.

          Yaham does not address the substance of Ultravision’s position. Instead, Yaham incorrectly

 asserts that Ultravision did not address its citation to Nystrom or Freeny. This is untrue. Yaham’s

 citations to Nystrom and Freeny rely on the same false premise that the doctrine of equivalents would

 render “transparent substrate” and “acrylic material substrate” co-extensive which Ultravision has

 already rebutted. In any case, the Nystrom Court merely ruled that the term “board” required a

 narrower construction than the term “wood decking log” – it did not hold that claim differentiation

 precluded equivalents of the construed “board” board term. Nystrom v. TREX Co., 424 F.3d 1136,

 1143 (Fed. Cir. 2005). Similarly, in Freeny this Court merely found different “types” of signals to be

 more limiting than just “different signals” – it did not exclude any equivalents of different “types” of

 signals.” Freeny v. Apple Inc., 2:13-CV-00361-WCB, 2014 WL 4294505, at *4 (E.D. Tex. Aug. 28,

 2014).

          Accordingly, the Court should reject Yaham’s attempt to preclude Ultravision from

 presenting its doctrine of equivalents theory based on new claim construction arguments. Yaham




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 waived these arguments and they are without merit.

 II.    THE ACCUSED PRODUCTS HAVE A 3:1 ILLUMINATION
        UNIFORMITY RATIO




                                                                                       Yaham does not

 contest that Dr. Coleman is an expert. Yaham does not address that Dr. Coleman reliably applied the

 plain and ordinary meaning of “a ratio of … 3:1,” and does not address that it has not sought to

 exclude those opinions. Because Yaham’s disagreement with Dr. Coleman’s opinions is a factual

 dispute, Yaham cannot meet its burden for summary judgment.

        Yaham’s Reply merely reiterates its claim construction arguments without addressing the

 substance of Ultravision’s positions.

        First, Yaham does not address that it waived its argument that “a ratio of … 3:1” is limited to

 “exactly 3:1” when it failed to raise this issue at claim construction. This was a foreseeable dispute.

 Yaham’s failure to raise its limiting construction of at the proper time resulted in a waiver. Rather

 than engage the substance of Ultravision’s argument, Yaham mischaracterizes the claim construction

 dispute as Ultravision’s position. This is inaccurate, as Yaham, not Ultravision, relies on new claim

 construction arguments in an attempt to negate a genuine dispute of material fact. Because Yaham

 waived its claim construction arguments, the Court need not reach its positions.

        Second, even if the Court reaches the merits of Yaham’s position, its fails to show that its

 newly proposed construction of “exactly 3:1” is warranted.

        Yaham continues to rely on the false premise that illumination with a uniformity ratio of 3:1

 is a subset of uniform illumination (e.g. illumination without hot spots or dead spots), in an attempt



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 to read an embodiment wherein uniform illumination has a ratio of 3:1 into the claims.




                                                  Yaham’s reliance on claim differentiation to suggest

 that claim 20 is limited to the subset of claim 15 is therefore incorrect.

        Yaham similarly fails to show that the specification disclosure of an embodiment “when all

 LEDs are operating, the light form the collective thereof will illuminate the surface at the 3:1 ratio”

 limits meaning of “ratio of … 3:1” to exactly 3:1. ‘410 Patent at 5:16-19. Yaham does account for

 the preceding sentence which refers to a light with a uniformity ratio of 3:1 as one which achieves a

 ratio of 3:1, consistent with Dr. Coleman’s opinions on the ordinary usage of the term. Yaham does

 not address that its suggestion that “even uniformity” requires a ratio of exactly 3:1 contradicts the

 Court’s construction that the uniformity terms refer to a “level of illumination that does not create

 noticeable unevenness in the overall illumination, such as hot spots and dead spots.” Dkt. 111 at 20-

 21.

        Finally, Yaham fails to identify any lexicography or prosecution disavowal to justify its new

 construction. Yaham does not address lexicography, and effectively concedes this point.



                                                          Yaham has not identified any statement in

 prosecution that could be considered a clear disavowal of the plain and ordinary meaning of “ratio of

 … 3:1.” Yaham instead relies on its citations to Ormco and Wang Labs, asserting that they “stand

 for the proposition that prosecution disavowal applies to the common subject matter with respect to

 statements made in prosecuting familial applications.” Yaham’s assertion is irrelevant because the

 plain and ordinary meaning of “is 3:1” in the context of uniformity ratios includes rations which




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 “achieve” (i.e. are lower than) 3:1. Because Yaham has fails to identify any prosecution disavowal

 or lexicography that narrows the “ratio of … 3:1” to exactly 3:1 in the face of the ordinary meaning

 in the specification of the ‘410 patent, and in the related industry, its proposed construction should

 be rejected.

        Because a genuine dispute of material fact remains as to whether the Accused Products

 generate illumination with “a ratio of the average illumination from each of the LEDs across the

 entire display surface to the minimum illumination at any point on the display surface from each of

 the LEDs is 3:1,” Yaham’s motion must be denied.

 III.   EACH LED OF THE ACCUSED PRODUCTS GENERATES EVEN
        ILLUMINATION




                                                                                           Yaham does

 not contest the facts underlying Dr. Coleman’s opinions. In particular, Yaham does not contest that

 each fixture uses only one type of LED; does not contest that each fixture uses optics with the same

 lens profile over each LED; and does not contest Dr. Coleman’s conclusion that the light output of

 each identical LED/lens combination is the same.



        Yaham does not address that Dr. Coleman based his opinions on, deposition testimony,

 specifications, illustrations, bills of materials, photometric outputs, and modeled light distributions

 of the Accused Products, among other evidence. See e.g. Dkt. 146-2, Ex. A at ¶¶ 133-138, 144-148,

 and n. 6-11. Because Ultravision will present evidence through Dr. Coleman from which a reasonable

 jury could determine that this limitation is satisfied, Yaham cannot meet its burden for summary



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 judgment.

        On Reply, Yaham simply ignores Dr. Coleman’s opinions, including the block quotes in

 Ultravision’s Opposition.




 Instead, Yaham adopts the contradictory positions that Dr. Coleman’s opinions were conclusory, or

 that he did not address “each LED” of the accused products at all. In either case, Yaham’s arguments

 are without merit. Yaham further relies on the fact that its Motion did not cite to its own expert in an

 attempt to circumvent its dispute with Dr. Coleman’s opinions. But Yaham’s reliance on attorney

 argument does not somehow negate its dispute with Dr. Coleman.

        Thus, because a reasonable jury could rely on Dr. Coleman’s opinions to find that each LED

 of the Accused Products has an even illumination profile, Yaham cannot meet its burden for summary

 judgment.

 IV.    CONCLUSION

        For all the foregoing reasons, Ultravision respectfully requests that Yaham’s Sealed Motion

 for Summary Judgment Regarding Noninfringement of U.S. Patent No. 8,870,410 (Dkt. 127) should

 be denied.

 Dated: December 29, 2020                                 Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on December 29, 2020, a true and correct copy of the above and

 foregoing document has been served by email on all counsel of record.

                                                   /s/ Alfred R. Fabricant
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